                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                         )   DOCKET NO. 3:09CR195-FDW
                                                 )
               v.                                )
                                                 )   ORDER DISMISSING
                                                 )   MATERIAL WITNESS WARRANT
DAVID JIMINEZ, ET AL.                            )   FOR JORGE MALDONADO-ACOSTA
                                                 )


       THIS MATTER comes before this Court upon Motion of the United States to dismiss the

material witness warrant for Jorge Maldonado-Acosta. The Court finds that this matter has been

resolved and the material witness’s appearance is no longer required.

       Therefore, it is ordered that the material witness warrant for Jorge Maldonado-Acosta is

hereby DISMISSED.

       The Clerk is directed to certify copies of this Order to defense counsel, the United States

Marshal’s Service, and the United States Attorney.

       SO ORDERED.

                                                Signed: June 9, 2010




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